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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

    IN RE: CENTURYLINK SALES                   MDL No. 17-2795 (MJD/KMM)
    PRACTICES AND SECURITIES
    LITIGATION                                 DEFENDANT AND INTERVENORS’
                                               RENEWED MOTION FOR
    This Document Relates to:                  TEMPORARY INJUNCTION TO
     0:17-cv-02832 0:17-cv-04622               ENJOIN AND STAY MINNESOTA
     0:17-cv-04613 0:17-cv-04944               ATTORNEY GENERAL’S
     0:17-cv-04615 0:17-cv-04945               DUPLICATIVE CONSUMER
     0:17-cv-04616 0:18-cv-01562               RESTITUTION CLAIMS
     0:17-cv-04617 0:18-cv-01565
     0:17-cv-04618 0:18-cv-01572
     0:17-cv-04619 0:18-cv-01573

        Pursuant to the All Writs Act, 28 U.S.C. 1651 and the Anti-Injunction Act, 28

U.S.C. § 2283 (the “Acts”), Defendant CenturyLink, Inc. and Proposed Intervenors (jointly

“CenturyLink”) through undersigned counsel, hereby renew their Motion for an Order

enjoining the litigation of duplicative restitution claims by the State of Minnesota, acting

through its Office of the Attorney General (“OAG”), in the case captioned State of

Minnesota, by its Attorney General, Keith Ellison v. CenturyTel Broadband Services,

LLC, No. 02-CV-17-34888 (Anoka Cty. Dist. Ct.).1

        The Consumer Plaintiffs and CenturyLink have reached a settlement of the

consumer class actions in this Proceeding that will resolve the claims of approximately

17 million putative class members nationwide, including all CenturyLink customers in

Minnesota. Simultaneously, the OAG is seeking restitution for the same alleged


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      CenturyLink first brought this Motion on August 1, 2019 (Doc. No. 421).
However, the Court subsequently continued the Motion pending the filing of the
Consumer Plaintiffs’ and CenturyLink’s Motion for Preliminary Approval of Class
Action Settlement, which was filed today. (Aug. 20, 2019 Order at 2, Doc. No. 447).
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damages, arising from the same transaction for the same Minnesota customers, and under

the same Minnesota statutes. If not enjoined, the OAG’s duplicative restitution claims

will undermine the nationwide settlement and interfere with this Court’s jurisdiction and

management of the MDL.

          Pursuant to its powers under the Acts as “necessary in aid of its jurisdiction,” the

Court should therefore enjoin the OAG from pursuing its restitution claims, and stay the

pending claims in state court. To be clear, CenturyLink is not seeking to enjoin the OAG

from proceeding with its other pending claims seeking civil penalties and injunctive

relief.

          This Renewed Motion is based upon the files, records, and proceedings in this

matter, including the memorandum of law previously filed and served, additional

memoranda of law to be filed and served, and the arguments of counsel.

          The Court has previously ordered that the OAG will have thirty days from the date

of the filing of the Motion for Preliminary Approval of the Consumer Class Action

Settlement in which to respond to CenturyLink’s Motion for Temporary Injunction.

(Order of Aug. 20, 2019 at 2, Doc. No. 447).

Dated: October 16, 2019                      Respectfully submitted,

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